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                     IN THE UNITED STATES DISTRICT COURT
                  FOR THE WESTERN DISTRICT OF PENNSYLVANIA

 DAWN MORAN,                                      :
                                                  :
                Plaintiff,                        :
                                                  :
        v.                                        : CASE NO. 2:21-cv-00141-DSC
                                                  :
 MOUNTAIN VIEW DENTAL LLC, and                    :
 DR. CARL HUTCHERSON, both jointly                :
 and severally,                                   :
                                                  :
                Defendants.                       :

                                 NOTICE OF SETTLEMENT

               PLEASE TAKE NOTICE that Plaintiff Dawn Moran (“Plaintiff”) and Defendants

Mountain View Dental LLC and Dr. Carl Hutcherson (“Defendants”) have tentatively reached an

agreement to settle all matters herein subject to the parties’ execution of a draft settlement

agreement. Plaintiff and Defendants anticipate filing a Joint Stipulation of Dismissal shortly, once

the settlement agreement is executed.

 Dated: January 3, 2022


 /s/ Joshua P. Ward
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 Attorney for Plaintiff
